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              G              ✘ CJA
                             G            G Pro Per    G Retained

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
Juan Carlos Seresi                                                       CASE NUMBER:
                                                                                                 2:15-cv-04856-SVW
                                                      PLAINTIFF(S),                              2:89-cr-00190-SVW
                                  v.
United States of America
                                                                                          NOTICE OF APPEAL
                                                  DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                          Juan Carlos Seresi                          hereby appeals to
                                                                    Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                         Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                               ✘ Order (specify):
                                                                         G
 G Conviction and Sentence                                                   Denying Motion to Correct or Reduce
 G Sentence Only (18 U.S.C. 3742)                                            Sentence under 28 U.S.C. § 2255 (Dkt. 11)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                        G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                         G Other (specify):

 G Bail status:



Imposed or Filed on            August 10, 2020           . Entered on the docket in this action on August 10. 2020                           .

A copy of said judgment or order is attached hereto.


08/19/2020                                               /s/ Reuven L. Cohen
Date                                                     Signature
                                                         G Appellant/ProSe          ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                  NOTICE OF APPEAL
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                                         JS-6
                                       CIVIL MINUTES – GENERAL

 Case No.        2:17-cv-09316-SVW                                                    Date: August 10, 2020
                 2:17-cv-09315-SVW
                 2:13-cv-04928-SVW
                 2:15-cv-04856-SVW
                 2:89-cr-00190-SVW
 Title       Vahe Andonian v. United States of America
             Nazareth Andonian v. United States of America
             Raul Vivas v. United States of America
             Juan Carlos Seresi v. United States of America
             USA v. Andonian et al




 Present: The Honorable:           STEPHEN V. WILSON, U.S. DISTRICT JUDGE


                     Paul M. Cruz                                                  N/A
                     Deputy Clerk                                         Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                          Attorneys Present for Defendants:

 N/A                                                               N/A

 Proceedings: IN CHAMBERS ORDER DENYING DEFENDANTS’ MOTIONS TO
 CORRECT OR REDUCE AN ILLEGAL SENTENCE UNDER 28 U.S.C. § 2255 [1248]
 [1275] [1313] [1315]


 Proceedings: Before the Court are four petitions under 28 U.S.C. § 2255 (“§ 2255”) to vacate or
 set aside criminal convictions. The Defendants are: Vahe Andonian (“Vahe”), Nazareth
 Andonian (“Nazareth”) (together “Andonians”), Juan Carlos Seresi (“Seresi”), and Raul Vivas
 (“Vivas”). All together, they are referred to as the “Defendants,” both on the current motion and
 in the previous criminal trial. The criminal case was brought in 1989 by the United States
 Department of Justice, USA v. Andonian et al., 89-CR-190-SVW (C.D. Cal. 1989),1 and resulted
 in the conviction of all four Defendants. For the purposes of this Order, the United States
 prosecutors involved the instant case will be referred to as the “Government,” and all other

 1
   All four petitions were assigned to this Court between 2015–2106, but the original case, including the criminal
 trial, was presided over by the Hon. William D. Keller, referred to hereafter as the “Trial Court.”


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 references to prosecutors (including the previous criminal trial) will utilize the terms
 “prosecutors,” “government,” or “executive.” After the initial exhaustion of their direct appeals
 and collateral attacks, Defendants have each been granted permission from the Ninth Circuit to
 file successive § 2255 petitions, all of which have been duly filed. The Government has not
 opposed any motion. Under 28 U.S.C. § 2255, the Court must “determine the issues and make
 findings of fact and conclusions of law with respect thereto.” 28 U.S.C. § 2255(b). “If the court
 finds that the judgment was rendered without jurisdiction, or that the sentence imposed was not
 authorized by law or otherwise open to collateral attack, the court shall vacate the judgment . . .
 .” Id. For the reasons set forth below, the petitions are DENIED.

                   I.      Procedural Background

         In 1989, federal prosecutors charged Vahe Andonian, Nazareth Andonian, Raul Vivas,
 and Juan Carlos Seresi, among several others, with 1) conspiring to aid and abet the sale of
 cocaine, 2) conspiring to launder the proceeds of drug sales, and 3) multiple acts of money
 laundering and conspiracy to commit thereto. This is referred to as the “Andonian Conspiracy.”
 After eight months of trial and over four weeks of deliberation, the jury returned a mixed verdict,
 finding Defendants guilty on charges of money laundering and conspiracy, but acquitting all
 drug charges. Defendants were sentenced to 505 years in prison and substantial monetary
 penalties. The Ninth Circuit affirmed the convictions in a memorandum opinion. See United
 States v. Andonian, 29 F.3d 634 (Mem.) (9th Cir. 1994).2


 2
   The Ninth Circuit described the trial verdict as follows: “Raul Vivas, Juan Carlos Seresi, Ruben Saini, and Vahe
 and Nazareth Andonian were convicted on Count 2, which alleged conspiracy to launder money. Vivas, Seresi, and
 the Andonians were also convicted of individual acts of money laundering alleged in Counts 3–27. . . None of the
 defendants were convicted on Count 1, which alleged conspiracy to aid and abet the possession and distribution of
 cocaine, in violation of 21 U.S.C. §§ 841, 846 and 18 U.S.C. § 2.”


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              a. Direct Appeals and Collateral Attacks

         In their direct appeal to the Ninth Circuit, Defendants presented a Combined Statement of
 Facts (“DCSF”), which explained the role each Defendant played in the alleged conspiracy.3 Dkt.
 1348-1. Upon request of the Court, these briefs were submitted in this proceeding, as well as
 substantial portions of the criminal trial transcript, which the Court has now thoroughly
 reviewed. 4

         During the criminal trial, the Trial Court allowed some evidence from a separate
 indictment, the “Koyomejian Conspiracy,” be introduced under Federal Rule of Evidence 404(b)
 against Defendants Vivas, Seresi, and Reuben Saini (who has already been released, and is not a
 party to the present § 2255 motions). DCSF, Dkt. 1348-1 at 5–8, 28–31. The Koyomejian
 Conspiracy was a precursor to Andonian Conspiracy, which overlapped in time somewhat and
 involved a similar modus operandi. Although it involved some of the same defendants,5 the
 Koyomejian Conspiracy was an independent case brought before U.S. District Judge Marshall,
 also in the Central District of California. Several defendants in the Koyomejian Conspiracy,
 including Sergio Hochman (“Hochman”) and Richard Ferris (“Ferris”), offered 404(b) testimony

 3
   The parts of DCSF recounted in this Order have been substantially confirmed by this Court’s review of the trial
 record.
 4
   As discussed in more detail below, the transcript of the criminal trial was only recently made fully available to the
 Court. Relevant portions of the trial record were first provided to the Court on November 27, 2019. Although
 exaction citations are not feasible to a trial record that spanned eight months and is over 30 years old, the Court will
 refer to the trial record by the name of the witness (or party when argument is cited), the date of the testimony, the
 approximate page range based on trial transcript documents provided to the Court on November 27, 2019. Example:
 Hochman, Jun. 5, 1990 at 1570–75.
 5
   Raul Vivas, Carlos Desoretz, and Richard Ferris were defendants in both the Andonian and Koyomejian
 Conspiracies. Their roles in the Andonian Conspiracy are discussed in more detail below. For more information on
 the Koyomejian Conspiracy, see Henry Weinstein, Eight Plead Guilty to Money Laundering, Los Angeles Times,
 Oct. 2, 1993, https://www.latimes.com/archives/la-xpm-1993-10-02-me-41377-story.html.


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 regarding the Koyomejian Conspiracy in the Andonian trial. Id. at 8–10. In all, the government
 utilized five cooperating witnesses at the Andonian trial, but only Sergio Hochman, Mario
 Tankazyan (“Mario”), and Richard Ferris, discussed below, offered significant evidence directly
 against the Andonians.6

          The inclusion of this 404(b) evidence from the Koyomejian Conspiracy in the Andonian
 trial formed the primary basis for Defendants’ direct appeal to the Ninth Circuit. In their
 appellate briefs, Defendants argued the Trial Court had erred by allowing testimony from the
 Koyomejian Conspiracy as 404(b) evidence. Andonian, 29 F.3d 634 (Mem.), at *3. The evidence
 was offered only against Vivas, Seresi, and Rueben Saini, and the Ninth Circuit affirmed the
 Trial Court’s decision to admit the testimony, holding “[t]he evidence tends to show both
 knowledge and intent, which are elements of money laundering. The evidence of Vivas', Seresi's,
 and Saini's prior relationship also tends to establish the association and plan elements of
 conspiracy.” Id. at *3.

        The Ninth Circuit further concluded that the 404(b) evidence was not prejudicial as to
 any Defendant, and “the decision to charge the Andonian conspiracy separately from the
 Koyomejian conspiracy [was] supported by the record.” Id. at *5. The Trial Court consistently
 cautioned the jury to cabin the 404(b) evidence, (see, e.g., Hochman, Jun. 5, 1990 at 1578–83),
 and Ninth Circuit affirmed the Trial Court’s handling of the evidence. Andonian, 29 F.3d 634
 (Mem.), at *6. The Ninth Circuit “reject[ed] the assertion that the jury failed to
 compartmentalize,” and held that “[t]he district court instructed the jury as to the limited

 6
   “The 5 cooperating witnesses were Sergio Hochman, a defendant in the Koyomejian case and an unindicted co-
 conspirator in the Andonian case; Manouk Demirjian, a defendant in the Koyomejian case and an unindicted co-
 conspirator in the Andonian case; Carlos Desoretz, a defendant in both the Koyomejian and Andonian indictments;
 Richard Ferris, a defendant in both the Koyomejian and Andonian indictments; and Vagram Mario Tankazyan, a
 defendant in the Andonian case only.” DCSF, Dkt. 1348-1 at 8.


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 admissibility of certain evidence. The jury returned selective verdicts indicating that it found
 different levels of intent with respect to Vivas and Seresi and acquitting four other defendants.”
 Id. Finally, the Ninth Circuit concluded the 404(b) evidence did not dominate the Andonian
 Conspiracy evidence on the record, which was sufficient to support a conviction under the
 indictment. See id. (“Although the evidence of other crimes and acts contributed to the
 government's case that Vivas, Seresi, and Saini were members of a conspiracy, it did not rise to
 the level of altering the conspiracy charged in the indictment.”). After the Supreme Court denied
 certiorari of the appeal, Defendants pursued habeas remedies in federal court, which were all
 unsuccessful. See Dkt. 1350 at 4 (recounting the procedural history of Defendants’ appeals and
 collateral attacks).

    b. Present § 2255 Motions

    On July 18, 2012, Sergio Hochman executed a sworn declaration attesting to undisclosed
 benefits he received from the government before and during the criminal trial. See Hochman
 Decl., Dkt. 1315, Exh. A. Hochman admitted that FBI agents provided the following benefits:

         A. Hochman was allowed to speak to his wife without restraints in the back of a
            government vehicle for a period of several minutes.
         B. On another occasion, Hochman was permitted to visit his wife in their apartment, and
            was left alone with her in a separate room, at which time they “did show affection to
            each other.” Id. The parties agree this amounted to a conjugal visit.
         C. Another time, Hochman was permitted to ride with his wife in the back of a
            government vehicle unrestrained.
         D. Finally, either before or after trial, Hochman was taken to lunch by FBI agents at a
            restaurant in Malibu.



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 Id. Hochman declared that the government agents at the time told him not to disclose these
 benefits to anyone. Id. At the criminal trial, Hochman fully disclosed the benefits he received
 regarding the reduction of his criminal liability, but he did not testify as to the four personal
 benefits listed above. Defendants argue this failure to disclose amounts to a constitutional
 violation under Brady v. Maryland, 373 U.S. 83, 87 (1963) (“Brady”) and Giglio v. United
 States, 405 U.S. 150, 154 (1972) (“Giglio”).7

         Based on the newly disclosed evidence of Sergio Hochman, all Defendants were granted
 permission to and did file successive § 2255 motions. See Dkt. 1313 (Nazareth); Dkt. 1315
 (Vahe); Dkt. 1248 (Vivas); Dkt. 1275 (Seresi). Seresi and Vivas have also joined the Andonians
 § 2255 motions and provided some supplemental briefing explaining the joinder, but with no
 specific discussion of the factual record or how their case differs from the Andonians.8 The
 government has filed a non-opposition to all four motions, which are now before the Court. Dkt.
 1338.

         Since acquiring the cases in 2016, this Court has expended substantial resources in
 attempting to resolve the present motions. At an early status conference in July of 2019, the
 Government offered no opposition to Defendants’ motions, but also appeared to have no
 substantive knowledge of the underlying case. The Government was unable to answer basic
 questions about the case’s procedural and factual history, and had no experience with the
 transcript of the criminal trial. In fact, the Government represented to the Court that no transcript
 existed. Similarly, Defendants did not provide any analysis of the trial record, but instead relied

 7
  For simplicity, this type of constitutional claim is referred to hereinafter as a Brady violation.
 8
  Neither Vivas nor Seresi provided any discussion of the factual record, and appear to rely on the Government’s
 non-opposition and the Andonians’ arguments. As explained further below, their motions are considered with the
 Andonians motions herein.


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 on the Government’s non-opposition and legal argument. The Court ordered a supplemental
 explanation of the Government’s non-opposition, which was delivered on July 29, 2019. Dkt.
 1345. After reviewing the Government’s supplemental non-opposition, the Court ordered the
 parties to deliver the briefs from the direct appeal to the Ninth Circuit. Dkt. 1348. In the
 subsequent hearing on the motion on November 25, 2019, Defendants represented to the Court
 that digital scans of the trial transcript were available. The Court ordered the lodging of all
 transcripts related to the closing arguments of all parties, the testimony of Sergio Hochman, the
 testimony of Vahe Andonian, and the testimony of Mario Tankazyan, all of which amounted to
 several thousand pages. These transcripts were delivered to the Court on November 26, 2019,
 and the Court thoroughly reviewed them. In the interim, the Court further requested a complete
 record of the trial from the Court’s own archives, which contained eighteen full boxes of trial
 evidence and court records. Dkt. 1360.

         Despite the Court’s continued requests for guidance, no party has offered a thorough
 examination of how Hochman’s testimony fit into the overall evidentiary record presented
 against Defendants. Although the parties have regularly characterized Hochman’s testimony as
 “substantial,” (dkt. 135 at 2), or “critical,” (dkt. 1358 at 9), they have neglected to address the
 vast array of testimonial, documentary, and circumstantial evidence presented at trial that was
 independent of Hochman, or that was corroborated by documentary evidence and other
 cooperating witnesses.9 To date, neither the Government nor any Defendant has provided a
 detailed analysis of the trial record to the Court. Although Vahe Andonian’s supplemental
 memorandum from December 5, 2019, (dkt. 1358), does address the initial facts of the
 conspiracy, it merely “summarized” how Hochman’s testimony affected Vahe Andonian. In fact,


 9
   The parties have also mentioned that the testimony of the government agent who provided these benefits to
 Hochman may have been impeached, but there has been no argument on the point. Regardless, the Court does not
 rely on the evidence of any FBI agent to reach its conclusion.


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 the memorandum seems to emphasize how little Hochman contributed to the case against Vahe,
 noting “Sergio Hochman never met with or spoke to either Andonian brother.” Dkt. 1358 at 7.
 Defendant argues “Hochman’s testimony hurt the Andonians not so much by what he said, but
 rather what he didn’t say.” Id. However, as explained by the discussion of the evidentiary record
 below, every aspect of the Andonian conspiracy was attested to by multiple witnesses, and
 supported by ample documentary and physical evidence.

         In the final hearing on January 26, 2020, attorneys for all four Defendants were present
 and given the opportunity to individually decide if they wished to offer further briefing on behalf
 of their clients. See Dkt. 1371. All Defendants declined to provide further briefing, and relied on
 the submitted papers and arguments. Id. Accordingly, as is its duty, the Court has undertaken a
 thorough review of the trial record. The Court has examined thousands of pages of trial
 transcripts, reviewed trial briefs, and even procured original documentary evidence stored in the
 Court’s archives. See Dkt. 1360. As explained further by the discussion of evidentiary record
 below, all Defendants have failed to carry their burden under Brady to show that the
 impeachment evidence regarding Sergio Hochman that was withheld from Defendants was
 prejudicial to the criminal trial.

    II.      Overview

     The Andonian Conspiracy alleged a money laundering scheme, originally devised by
 Vivas and Hochman while in Uruguay, whereby proceeds from drugs sold on the streets
 of New York City, Los Angeles, and Miami could be laundered back to South America.
 DCSF, Dkt. 1348-1 at 5. According to prosecutors, the conspirators would sell illegal
 drugs in various cities across the United States, which would produce millions of dollars
 in cash. The cash would be collected by street-level operatives, who would then deliver it
 in bags of small denomination currency to representatives of the United States-based arm


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  of Vivas’s operation, ROAF.10 DCSF, Dkt 1348-1 at 5. Both Hochman and Seresi were
  key employees of ROAF, and Hochman ran the New York Office for the majority of the
  conspiracy. Dkt. 1358 at 6. Although prosecutors brought charges related to the
  distribution of cocaine, there was no direct evidence of drugs introduced in the Andonian
  trial, and jury did not convict any Defendant on drug charges. Rather, all Defendants
  were convicted because of their role in the money laundering conspiracy.

           The operations of the money laundering conspiracy were testified to extensively at trial
  by Mario, Hochman, and Richard Ferris.11 The specific mechanisms of the scheme are discussed
  in more detail below, but can be briefly be summarized as follows. To launder the cash, ROAF
  would buy millions of dollars of fine gold. In order for the scheme to work, ROAF needed a
  stable supply of large amounts gold. The Andonians were established gold brokers in the Los
  Angeles jewelry mart, and they owned a company called Andonian Brothers Manufacturing, Inc.
  (“ABI”). DCSF, Dkt. 1348-1 at 10. The Andonians, through ABI, had an existing relationship
  with A-Mark, a large gold dealer on the West Coast. 12 Mario was a gold dealer in Los Angeles
  who ran a company called Rose Marie, Inc. (“Rose Marie”), and Mario acted as an intermediary
  between ROAF and the Andonians. DCSF, Dkt 1348-1 at 12. Mario and ROAF needed the
  Andonians to buy gold from A-Mark because A-Mark did not have an existing relationship with
  ROAF or Mario, and would not deal with them directly. Id. at 32. Using cash provided by ROAF
  (through Mario), the Andonians would purchase large amounts of fine gold from A-Mark. The

  10
     The company used for cash collection in the United States changed names several times throughout the years of
  the Andonian Conspiracy, but is generally referred to here as ROAF. Similarly, the “bank” in Uruguay that Vivas
  used to receive funds is referred to as “Letra” or “Cambo de Italia,” although that name also changed throughout the
  course of the conspiracy. DCSF, Dkt. 1348-1 at 14–16.
  11
     Richard Ferris was the president of Ronel Refining, Inc., and he entered guilty pleas in both the Koyomejian and
  Andonian Conspiracies. DCSF, Dkt. 1348-1 at 24.
  12
     According to Defendants, A-Mark was the largest gold dealer on the West Coast, handling between $5–$10
  million per day in gold transactions. DCSF, Dkt. 1348-1 at 15.


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  purchased gold would then be sold to a precious metal refinery in Florida, Ronel Refining, Inc.
  (“Ronel”), who then immediately resold the gold to A-Mark at a loss. Ronel would credit the
  proceeds of the sale to Letra, Vivas’s “bank” in South America, completing the circular
  transaction.

           Ferris, Hochman, and Mario cooperated with the government, and explained the
  mechanism of the Andonian Conspiracy in detail at the criminal trial. By conservative estimates,
  in the course of roughly one year, the Andonian conspiracy laundered over $300 million in
  illegal funds from the United States to South America. Dkt. 1345 at 2.

              a. Money Laundering Via Physical Gold Transactions

          The process of turning the cash into gold occurred via two methods: at first via the
  physical delivery of gold, and second via account-only transactions known as “pools.” DCSF,
  Dkt. 1348-1 at 15. In the first phase of physical gold delivery, ROAF procured gold from the
  Koyomejians and various other small gold dealers. “The gold was then sent to Miami by
  overnight courier, where it was sold to Ronel Refining. The proceeds from the sale were then
  sent by Ronel to various banks in South America.” DCSF, Dkt. 1348-1 at 9. Richard Ferris, the
  president of Ronel Refining, explained this process at the trial. Id. at 27. Ferris testified that
  Ronel first began to buy scrap gold from ROAF in 1986 and continued to work with ROAF until
  the conspiracy ended in 1989. Id. at 27.

         At first, ROAF relied primarily on the Koyomejians to procure the gold. However, when
  the Koyomejian relationship soured, ROAF looked for new sources. When Hochman could not




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  find a consistent source of fine gold in New York City,13 Vivas recommended switching to a new
  connection in the Los Angeles jewelry mart. Mario had recently met the Andonians (ABI) who,
  as described above, had an existing relationship with A-Mark. Vivas instructed Hochman and
  Mario to use ABI to purchase gold going forward. DCSF, Dkt. 1348-1 at 10. The Andonians had
  developed a relationship with A-Mark by purchasing gold for their jewelry business, and acting a
  gold broker for smaller jewelers in the Los Angeles jewelry mart. Id. at 31. Before they began
  working with Mario/ROAF, the Andonian brothers were already buying roughly $100 million in
  gold from A-Mark per year for themselves and other clients in the jewelry mart. DCSF, Dkt.
  1348-1 at 32. In the one year they worked with ROAF, the Andonians did over $300 million in
  purchases almost exclusively for ROAF through Rose Marie (via Mario). Dkt. 1350 at 2.

         Mario, Ferris, and Hochman all testified to the operation of the Andonian Conspiracy.
  However, despite running the ROAF office in New York City, Hochman had no direct contact
  with the Andonians. Id. Instead, Mario would act as the conduit between ROAF and ABI. As
  described by Defendants in their briefs to the Ninth Circuit:

          In the typical transaction, appellant Juan Carlos Seresi would call Mario from the
          RAOF offices and tell Mario how much gold RAOF desired to purchase that day.
          Mario would then call ABI, tell them how much gold Rose Marie wanted to
          purchase, and then someone from ABI would either pick up the money for the
          purchase, or the money would be delivered to ABI. After ABI obtained the gold
          from its own sources, the gold would be delivered to Rose Marie or RAOF.



  13
     Despite Defendants’ argument that cash was the common practice in the gold industry, Hochman was unable to
  find gold dealers in New York City who would accept such large volumes of cash for fine gold on a regular basis.
  USA Rebuttal, Nov. 29, 1990 at 19626.


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  DCSF, Dkt. 1348-1 at 15 (internal citation omitted). The Andonians would receive the cash via
  an armored courier, either Brinks or Loomis, and use that cash to purchase gold from A-Mark.
  Id. at 10. However, this method still required ROAF to deliver physical gold to Ronel, which was
  expensive and risked the delivery of sub-standard gold. Id. at 22. Subsequently, “pool accounts”
  were created to execute the transactions. Id. at 10.


              b. Money Laundering Via “Pool Accounts”

      “In late 1987, a pool account was set up for gold trading between ABI and Rose
  Marie.” DCSF, Dkt. 1348-1 at 15 (internal quotation marks omitted). In a pool account,
  “there is no physical delivery of the commodity being traded. Rather, debits and credits to
  the accounts of the various traders are maintained. While the transactions are occurring
  on paper, all transactions in the pool are backed by the promise to deliver actual kilogram
  bars of fine gold.” Id. at 15 n.9. The first pool was established at a commodities trading
  house called Proseguer. Id. at 16. In brief, a typical pool transaction would flow as
  follows: cash would be collected by street operatives and delivered to ROAF; then ROAF
  (usually via Seresi) would instruct Mario how much gold to purchase for that day. Mario
  would in turn relay that information to ABI, and the Andonians would then make a pool
  purchase for gold from A-Mark and instruct A-Mark to credit the gold to a depository
  account at Proseguer. “In every instance of the pool account trading, these deposits were
  to the account of Ronel Refining, Inc., which in turn credited the deposits to a numbered
  account belonging to a company or organization named Letra.” Id. After receiving credit
  for the gold they purchased from A-Mark, Ronel would immediately sell the same
  amount of gold back to A-Mark at a loss via the pool—effectively turning cash into gold
  into bank deposits—all without any physical gold ever changing hands. Id. Eventually the
  A-Mark pool was shut down, and the Andonians tried a similar scheme with Phillip


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  Brothers in London. Id. at 23. However, the pool was short-lived, as it only began in late
  1988, and the charges in the Andonian case were filed early 1989. Id.

     III.     Legal Standard

              a. 28 U.S.C. § 2255

          Under 28 U.S.C. § 2255, the court must “determine the issues and make findings of fact
  and conclusions of law with respect thereto.” 28 U.S.C. § 2255(b). “If the court finds that the
  judgment was rendered without jurisdiction, or that the sentence imposed was not authorized by
  law or otherwise open to collateral attack, the court shall vacate the judgment . . . .” Id. Pursuant
  to 28 U.S.C. § 2255(h), before undergoing scrutiny by a district court pursuant to § 2255(b), a
  second or successive petition must be certified by a panel of the appropriate court of appeals to
  contain “newly discovered evidence that, if proven and viewed in light of the evidence as a
  whole, would be sufficient to establish by clear and convincing evidence that no reasonable
  factfinder would have found the movant guilty of the offense . . . .” 28 U.S.C. § 2255(h). When
  the court of appeals certifies a petition based on this standard, the court of appeals is holding that
  the facts make prima facie showing that the motion should be granted. Adams v. United States,
  583 Fed. App’x 658 (Mem.), 659 (9th Cir. 2014). “A prima facie showing means a sufficient
  showing of possible merit to warrant a fuller exploration by the district court.” Id. (internal
  quotation marks omitted). In this case, permission to file a successive petition was granted to all
  Defendants based on the newly disclosed evidence of Sergio Hochman.

          Defendants argue that the Ninth Circuit’s grant of the successive petition, combined with
  the government’s non-opposition, obviates the need for further review by this Court. Defendants
  posit that, “in certifying Vahe’s successive 2255 motion, [the Ninth Circuit] has necessarily
  found that the allegations in said motion, if true, would establish by clear and convincing
  evidence that there was a ‘reasonable probability that the withheld evidence would have altered


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  at least one juror’s assessment’ of Hochman’s credibility.” Dkt. 1350 at 6 (quoting United States
  v. Kohring, 637 F.3d 895, 906 (9th Cir. 2011)). That is not a persuasive interpretation of the
  statute, however, as the Supreme Court has held that, even if the circuit court certifies a
  successive motion, the District Court must then conduct an independent and thorough review of
  the evidence to determine if the facts do meet the statutory requirements. Tyler v. Cain, 533 U.S.
  656, 660 n.3 (2001) (“But to survive dismissal in the district court, the applicant must actually
  ‘sho[w]’ that the claim satisfies the standard.”); see also In re Moore, 830 F.3d 1268, 1271 (11th
  Cir. 2016) (“We rejected the assertion that the district court ‘owes some deference to a court of
  appeals’ prima facie finding that the requirements have been met.”). Accordingly, although this
  Court accepts the Ninth Circuit’s order as prima facie showing of a meritorious Brady claim, the
  Court is not relieved of its duty to independently analyze the facts on the record and apply the
  legal standard set forth in Brady.

          Defendants also argue the Court should defer to the Government’s non-opposition and
  confession of error, and grant the pending motions “forthwith.” Dkt. 1350 at 12. As a threshold
  matter, the Court accepts as fact that Hochman was given the favors he described, and that those
  favor were not disclosed to the defense. However, the factual acceptance of misconduct does not
  imply the Brady standard has been satisfied. Defendants cite Young v. United States, 315 U.S.
  257 (1942), in which the Supreme Court explained that “[t]he considered judgment of the law
  enforcement officers that reversible error has been committed is entitled to great weight . . . .” Id.
  at 258. However, Defendants omit the second half of the same sentence in Young, in which the
  Court explains, “but our judicial obligations compel us to examine independently the errors
  confessed.” Id. Although the Government has declined to offer any opposition, “the proper
  administration of the criminal law cannot be merely left to the stipulations of the parties.” Id. at
  259; see also United States v. Martinez, 357 Fed. App’x 100, 101–02 (9th Cir. 2009) (explaining
  that a confession of error is entitled to great weight, but “confession of error is not binding on the
  court.”).


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           Defendants further argue the Court should observe executive deference, and treat the
  Government’s non-opposition as conclusive, “particularly where the case is resolved on a non-
  precedential opinion.” Dkt. 1358 at 14 (quoting United States v. Martinez, 357 Fed. App’x 100
  (2009)). Generally, the executive branch (and prosecutors as members of the executive branch) is
  charged with “tak[ing] [c]are that the Laws be faithfully executed . . . .” U.S. Const. art. II, § 3.
  Accordingly, the Government’s decision to forego prosecution of a defendant should be afforded
  great deference by the judiciary branch. See United States v. Gonzalez, 58 F.3d 459, 461 (9th Cir.
  1995) (“We conclude that, even if the district court has discretion to deny a prosecutor’s
  uncontested [Rule 48(a)] motion in exceptional circumstances, the district judge could not do so
  on the facts of this case.”). However, no such deference is appropriate on habeas motions, which
  are intentionally and entirely entrusted to the judiciary. See Boumediene v. Bush, 553 U.S. 723
  (2008) (“Surviving accounts of the ratification debates provide additional evidence that the
  Framers deemed the writ to be an essential mechanism in the separation-of-powers scheme.”).
  The Court in Boumediene went on to state that “[t]he clause protects the rights of the detained by
  means consistent with the essential design of the Constitution. It ensures that . . . the Judiciary
  will have a time-tested device, the writ, to maintain the ‘delicate balance of governance’ that is
  itself the surest safeguard of liberty.” Id. at 745 (emphasis added). The Supreme Court also stated
  in Hamdi v. Rumsfeld, 542 U.S. 507, 536 (2004), that “the Great Writ of habeas corpus allows
  the Judicial Branch to play a necessary role in maintaining this delicate balance of governance,
  serving as an important judicial check on the Executive’s discretion in the realm of detentions.”
  Therefore, the separation of powers requires that the writ of habeas corpus be in the control of
  the judiciary and not be subject to prosecutorial will.

         Even when the Government enters a non-opposition, the Court is required to
  independently examine the record and apply the law. See, e.g., Ronell v. United States, No. 1:06-
  cr-00066-LJO-1, 2014 WL 2504742 (E.D. Cal. June 3, 2014) (undertaking an independent
  analysis of the § 2255 motion despite the government’s non-opposition); Robles-Adame v.


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  United States, No. 3:16-cv-02850-GPC, 2017 WL 2465017 (S.D. Cal. June 7, 2017) (same). In
  this case, although the Government has provided limited briefing explaining its non-opposition,
  it has effectively abdicated its role in the adversarial process. After confessing error, the
  Government has demonstrated no familiarity with the underlying matter. As described above, the
  Government initially misrepresented to the Court that no trial transcript was available. After the
  transcript was produced (at the continued urging of the Court), the Government responded to the
  Court’s order for additional briefing, but did nothing to demonstrate to the Court that it has
  diligently reviewed the record. As discussed below, in determining prejudice, the Court must
  “weigh the withheld evidence ‘in the context of the entire record.’” United States v. Price, 566
  F.3d 900, 910 (9th Cir. 2009) (quoting United States v. Jernigan, 492 F.3d 1050, 1053 (9th
  Cir.2007)). Although the Government’s position is afforded “great weight” with regard to the
  confession of error, the Court cannot extend such deference to the Government’s opinion of the
  prejudice issue because the government has demonstrated a manifest disinterest in the trial
  record.

           Although the Court defers to the Government on the factual issue, the Court’s review of
  the legal issue is independent. This interpretation is consistent with other aspects of § 2255,
  which prescribes independent review by the judiciary, rather than deference to the executive or
  any other body, in several areas. 28 U.S.C. § 2255. First, § 2255 describes a detailed method for
  second or successive petitions to be filed, and this process cannot be waived by the government.
  Nunez v. United States, 96 F.3d 990, 991 (7th Cir. 1996) (“Even an explicit consent by the
  government to beginning the case in the district court would be ineffectual . . . .”); see also
  Torres v. Senkowski, 316 F.3d 147, 152 (2d Cir. 2003) (same). Second, as discussed above,
  district courts do not give deference to the court of appeals finding that a defendant has made
  prima facie showing of entitlement to relief under § 2255. Tyler, 533 U.S. at 660 n.3 (2001).
  Finally, as discussed above, even when the government fails to oppose a § 225 motion, the Court



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  is obligated to undergo an “independent evaluation” of the facts and law. It is this Court’s
  obligation to independently review the factual record, and apply the facts to the legal standard.

              b. Consideration of the Brady Standard on a § 2255 Motion

          In deciding the present § 2255 motions, the Court’s consideration of the Brady standard
  is not substantively different than if Defendants had brought the claim under 42 U.S.C. § 1983.
  See Sanchez v. United States, 50 F.3d 1448 (9th Cir. 1995) (applying the Brady standard to
  defendant’s § 2255 motion). The Court’s duty in either case is to determine if Defendants’
  constitutional rights were violated such that they did not receive a fair trial. C.f. Strickler v.
  Greene, 527 U.S. 263, 264 (1999) (“The question [on habeas] is not whether the defendant
  would more likely than not have received a different verdict with the suppressed evidence, but
  whether in its absence he received a fair trial”); Morris v. Ylst, 447 F.3d 735, 742 (9th Cir. 2006)
  (“The animating purpose of Brady is to preserve the fairness of criminal trials.”). In either case,
  it is Defendants’ burden to show their constitutional rights were violated. Strickler, 527 U.S. at
  291.

          “There are three components of a Brady violation: ‘The evidence at issue must be
  favorable to the accused, either because it is exculpatory, or because it is impeaching; that
  evidence must have been suppressed by the State, either willfully or inadvertently; and prejudice
  must have ensued.’” United States v. Price, 566 F.3d 900, 907 (9th Cir. 2009) (quoting Strickler,
  527 U.S. at 281–82). Hochman failed to disclose impeachment evidence that could have been
  used to undermine his credibility at the criminal trial. This satisfies the first two components of
  the Brady claim: there is impeachment evidence that should have been but was not disclosed.
  “Having concluded that the first two components of [Defendants’] Brady claim have been met,
  we turn now to the final issue: whether the failure to disclose the Brady material was
  prejudicial.” Id. at 911. It is Defendants’ burden to show that the withheld evidence was
  “prejudicial.” Id. at 910.


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          “The touchstone of [the prejudice analysis] is whether admission of the suppressed
  evidence would have created a ‘reasonable probability of a different result.’” Id. at 911 (quoting
  United States v. Jernigan, 492 F.3d 1050, 1053 (9th Cir. 2007) (en banc)). Having concluded
  impeachment evidence remained undisclosed at the criminal trial, this Court must determine if
  Hochman’s declaration contained evidence that was prejudicial “in the context of the entire
  record.”14 Id. at 913 (internal quotation marks omitted). As Defendants correctly note, “the
  Supreme Court has stressed, it has ‘rejected a standard that would require the defendant to
  demonstrate that the evidence if disclosed probably would have resulted in acquittal.’” Id. at 911
  (quoting United States v. Bagley, 473 U.S. 667, 680 (1985)). Thus, the Court examines whether,
  in the context of the trial record, Defendants have met their burden in establishing that the
  disclosure of Hochman’s impeachment evidence would have created a “reasonable probability of
  a different result.” Price, 566 F.3d at 911 (quoting Jernigan, 492 F.3d at 1053).

       IV.     Analysis of the Trial Record

     The trial record of this case is extensive. The criminal trial lasted over eight months, and the
  government’s case-in-chief examined over sixty witnesses and included over 600 evidentiary
  exhibits. DCSF, Dkt. 1348-1 at 8. “The case was primarily based upon the testimony of 5
  cooperating individuals and intercepted wire and oral communications which took place between
  November of 1988 and February of 1989.” Id. Hochman was a defendant in the Koyemejian
  Conspiracy, and he pleaded guilty in exchange for his cooperation in the Koyomejian and
  Andonian cases, where he was an unindicted co-conspirator. See supra note 6. The same is true

  14
     As the Ninth Circuit noted in Price, “[t]he prejudice analysis is often phrased in terms of ‘materiality.’” Price, 566
  F.3d at 911 n.12. “However, [t]he terms material and prejudicial are used interchangeably in Brady cases. Evidence
  is not ‘material’ unless it is ‘prejudicial,’ and not ‘prejudicial’ unless it is ‘material.’” Id. (internal citation and
  quotation marks omitted). Like the court in Price, for the purposes of this Order, the Court “use[s] the term
  ‘prejudice’ here so as to avoid the linguistic awkwardness that inheres in determining whether ‘Brady material’ is or
  is not ‘material.’” Id.


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No.        2:17-cv-09316-SVW                                      Date: August 10, 2020
                  2:17-cv-09315-SVW
                  2:13-cv-04928-SVW
                  2:15-cv-04856-SVW
                  2:89-cr-00190-SVW
  Title      Vahe Andonian v. United States of America
             Nazareth Andonian v. United States of America
             Raul Vivas v. United States of America
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  for Manouk Demirjian, another cooperating witness. Carlos Desoretz and Richard Ferris were
  both named defendants in both conspiracies, and they both testified for the government in the
  Andonian case. Finally, Mario Tankazyan was only a defendant in the Andonian case, and he
  pleaded guilty before offering extensive cooperation at trial. Id. All five defendants gave
  cooperating testimony in the Andonian case which substantially corroborated each other.
  Although the parties characterize both “Hochman and Mario as the two principal witnesses
  against the Andonians,” (dkt. 1350 at 7), Mario provided the most expansive and relevant
  testimony regarding the Andonian Conspiracy, as he was the direct link between ROAF and
  ABI. See Dkt. 1358 at 7 (“Sergio Hochman never met with or spoke to either Andonian brother.
  He was aware that Mario was an intermediary in purchasing gold from Andonian”). As discussed
  further below, the Court has extensively reviewed the testimony of both Hochman and Mario to
  determine what evidence Hochman contributed to the Andonian Conspiracy, and to what extent
  it was corroborated or duplicated by Mario or other witnesses.

              a. Testimony of Vagram “Mario” Tankazyan, Richard Ferris, and Vahe
                 Andonian

         Vagram Mario Tankazyan, or “Mario” as he was referred to at the criminal trial, owned a
  company called Rose Marie, Inc. in the Los Angeles jewelry mart. DCSF, Dkt. 1348-1 at 12.
  Before meeting Vivas, “[t]his business bought scrap gold, refined same and resold the refined
  gold back to other jewelry manufacturers in the jewelry mart.” Id. “Mario met Vivas in 1986
  when Rose Marie purchased Paolo, Inc. and a refinery it owned from Vivas. Mario also met
  appellant Juan Carlos Seresi at the RAOF offices in early 1987.” Id. (internal citations omitted).
  “Beginning in April or May of 1987, Mario began to go to the RAOF offices and pick up cash,
  which he would then use to purchase gold from gold brokers in the jewelry mart.” Id. at 13.




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          Eventually, Mario met an employee of ABI, who referred Mario to the Andonian brothers
  for future gold purchases. Id. Mario developed a business relationship with the Andonian
  brothers, and eventually, as described above, the Andonians became the primary source of gold
  purchases for ROAF through Mario. Id. at 15. Mario was essential to the Andonian conspiracy
  because he would receive critical information from Seresi at ROAF about the delivery of
  millions of dollars in cash to Los Angeles, which could then be used to purchase gold through
  ABI. Unlike Hochman, who was based in New York City and never spoke to the Andonians,
  Mario was in constant contact with both members of ROAF and ABI. Hochman, Jun. 6, 1990 at
  1775. Of all the cooperating defendants, Mario provided the bulk of the evidence relating to the
  Andonian conspiracy, testifying for eleven days in the criminal trial.

          The Court’s review of the record reveals that Mario provided the most significant
  evidence relating to the Andonian Conspiracy. Initially, Mario explained the inner workings of
  ROAF and the relationships between Vivas, Hochman, Seresi, the Andonians, and the other co-
  conspirators. Mario, Jul. 2, 1990 at 4010–28. Mario fully explained how couriers would drop off
  bags of small-denomination cash to the ROAF office in New York, and how that cash would be
  counted and catalogued for delivery at ROAF. Id. at 4042–55. Mario explained the “La Mina”
  code that ROAF would use to track which couriers had delivered cash.15 Mario even provided
  direct evidence of drugs—noting that he saw “white powder” on money being delivered to
  ROAF. Id. at 4059.

          Mario explained how both the physical gold delivery and the pool accounts worked, and
  the circular nature of the gold transactions between ROAF and A-Mark. Id. at 4067–80, 4109–



   As explained further below, there was no evidence the Andonians knew of or used the “La Mina” code, but the
  15

  Andonians used a different code language when speaking with Mario about sending cash shipments.


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  15. Mario described the “second London Fix,”16 and how ROAF was buying gold above the
  second London Fix, but selling immediately afterward below the fix, generating a loss on every
  transaction. Mario, Jul. 17, 1990 at 5863–70. Despite incurring a loss on every transaction, Vivas
  was still able to pay a $4.00 premium on every ounce sold—split between Mario and the
  Andonians. Mario, Jul. 9, 1990 at 4642–50; Richard Ferris also testified extensively about the
  circular nature of the transactions between ROAF, Ronel, and A-Mark. DCSF, Dkt. 1348-1 at 26.

         Mario testified that shipments of millions in cash would be sent to the Andonians from
  ROAF, and the Andonians would then order gold from A-Mark with that money. See, e.g.,
  Mario, Jul. 2, 1990 at 4109–13; Mario, Jul. 17, at 5888–99. Based on admitted records, the
  government argued that the Andonians’ own ledger showed that the Andonians were paying
  people at ROAF in New York to box and ship the cash. USA Rebuttal, Nov. 29, 1990 at 77
  19629–30. Mario testified to seeing Nazareth Andonian with Vivas on at least one occasion in
  the ROAF office. Mario, Jul. 5, 1990 at 4359.

          Mario also testified how the Andonians agreed to receive huge volumes of cash, via
  Brinks and Loomis, from ROAF in New York at ABI’s Los Angeles office. Mario, Jul. 5, 1990
  at 4140–42. The Andonians set up the contract with Brinks and Loomis, and the Andonians told
  Mario where and how to ship the boxes. Id. Mario witnessed the Andonians counting millions of
  dollars in cash received from ROAF on a daily basis at ABI’s Los Angeles office. Mario, Jul. 2,
  1990 at 4146–50; Mario, Jul. 3, 1990 at 4213–20. The government introduced evidence of the

  16
    “The second London fix is a benchmark used by gold traders for the purchase and sale of gold. Each morning, the
  price
  per ounce of gold is quoted (second London fix). Assuming the price quoted is $400 per ounce, then gold brokers
  quote
  their prices for both the purchase of gold and the sale of gold in relationship to the second London fix ($400).”
  DCSF, Dkt. 1348-1 at 14 n.7.


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  Andonians’ ledgers that showed the Andonians were paying ROAF staff in New York to pack
  and send the money—which ABI did not do with any other client. USA Rebuttal, Nov. 29, 1990
  at 19630. “Bricks” of small denomination bills would be sent by ROAF to the Andonians, who
  would then count the money with Mario using high-volume cash counting machines. Mario, Jul.
  2, 1990 at 4054. Millions of dollars of small-denomination cash were received and counted by
  the Andonians nearly every day. Id. at 4054–55. Mario thoroughly explained how the money
  would get from ROAF to the Andonians and on to A-Mark. Mario described how Brinks or
  Loomis would pick up and deliver boxes of cash to the Andonians on a daily basis. Mario, Jul. 3,
  1990 4213–16.

          Mario also explained how the Andonians would disguise their discussions of shipping
  cash by speaking in code. They would use the word “gram” to represent a thousand dollars and
  the word “kilo” to represent a million dollars. Id. at 4220–21. So, instead of saying $450,000, the
  Andonians would say they had 450 grams to ship. Instead of $500,000, the Andonians would say
  “a half kilo,” so as the make the shipments of cash appear to be shipments of jewelry. Id. When
  shipping cash with Brinks or Loomis, the Andonians would use a similar code—marking the
  boxes as “jewelry” rather than “cash” to avoid the suspicion of sending such large volumes of
  cash so frequently. Mario, Jul. 2, 1990 at 4136–42. The Andonians would also split the
  shipments between Brinks and Loomis, and have boxes sent to several different addresses, to
  further disguise the volume of cash being sent. Mario, Jul. 5, 1990 at 4446–48. This practice was
  substantiated by bills of lading and record books from Brinks and Loomis introduced into
  evidence. USA Rebuttal, Nov. 29, 1990 at 19639–41 (Trial exhibits 182, 417). The prosecutor
  argued that Vahe Andonian had no rational explanation for this practice. Id.

         Vahe admitted at trial that millions of dollars in cash were being sent from ROAF to ABI
  on a daily basis, but testified that this was a common practice in the gold and jewelry industry.



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  Vahe, Sep. 6, 1990 at 11431–33; Vahe Closing, Nov. 9, 1990 at 18420. But even then, Vahe
  admitted that he found the amount of money concerning—at least enough to seek the advice of
  two separate lawyers. Dkt. 1350 at 3; Vahe Closing, Nov. 9, 1990 at 18525.17 Vahe admitted that
  the volume of money received from ROAF was a substantial change from ABI’s previous
  business: the Andonians went from doing roughly $100 million per year in gold transaction from
  various sources to over $300 million almost entirely from ROAF. Dkt. 1350 at 2. Significantly,
  the money laundering charges on which Defendants were convicted do not require any evidence
  of narcotics. To be guilty of money laundering, the proceeds must be from “some form of
  unlawful activity.” 18 U.S.C. § 1956(a)(1). By convicting the Defendants, the jury rejected
  Vahe’s contention that these transactions were legitimate gold sales. The specifics of the gold
  transactions were corroborated in detail by Mario, Hochman, and Ferris.

           Voice recordings were admitted into evidence that showed the Andonians using code to
  discuss shipments of cash from ROAF to ABI. Mario, Jul. 5, 1990 at 4486–88. The bills of
  lading from Brinks and Loomis confirmed that the Andonians were using a code to send cash
  disguised as gold. Id. at 4446–50. Mario also testified, as supported by the records, that the boxes
  of cash were constantly being sent to different addresses under different names using different
  couriers. Id. at 4477. Vahe testified that this never happened, (Vahe, Sep. 5, 1990 at 11283), or
  that it was a common practice in the jewelry industry. Vahe Closing, Nov. 9, 1990 at 18420–31.
  By so testifying, Vahe Andonian put his credibility against the arguments of the government that
  this massive flow of cash was suspicious. The jury clearly rejected Vahe’s interpretation by
  convicting on the money laundering charges.




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    The Court does not address the advice of counsel defense raised by the Andonians at trial because it was fully
  presented to and rejected by the jury. Hochman’s testimony did not relate to this issue.


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          Finally, Mario testified that in mid-1988, Hochman fled the ROAF office in New York
  because he thought he heard authorities outside the office—leaving $3 million unattended.
  Mario, Jul. 5, 1990 at 4344. Although Hochman testified to this event himself, Mario’s account
  was consistent with Hochman’s, and Mario’s testimony was more relevant to the Andonians
  because of what happened following Hochman’s flight. Mario testified that, after Hochman fled,
  Seresi informed Mario that whoever could retrieve the $3 million would get to take over the
  ROAF office in New York City. Id. at 4347. Mario described in detail the plan for Mario and
  Vahe Andonian to travel to New York to collect the money. Id. at 4354–58. Mario testified that
  he and Vahe even concocted an alibi whereby they would claim to be using the money to buy
  Italian chains in Los Angeles. Id.

           However, Mario testified that he was too frightened to go, and at the last moment Tomas
  Iglesias accompanied Vahe Andonian to recover the New York money. Id. at 4362–65. Vahe
  agreed that he went to New York on the days in question, but he testified that he went to New
  York for a different purpose—to meet a business associate. DCSF, Dkt. 1348-1 at 33. But Mario
  testified that Vahe and Iglesias collected the money in New York and sent it back to ABI in Los
  Angeles uncounted via Loomis. Mario, Jul. 5, 1990 at 4362–65. Once the money arrived in Los
  Angeles, Mario, Vahe, and Iglesias all counted the money together. Id. at 4369–76. After the
  “New York Incident,” Mario continued to work with ROAF as a bookkeeper, but the purchasing
  of gold shifted substantially to Seresi. DCSF, Dkt. 1348-1 at 17–19. Mario testified as to every
  aspect of the ROAF/ABI operation until the conspiracy ended in 1989.

              b. Testimony of Sergio Hochman

      Sergio Hochman was Argentinian by birth, and he met Vivas in Uruguay in 1983 through
  their mutual work in the gold refining business. Hochman, May 31, 1990 at 202. According to
  Hochman, the scheme for the Koyomejian Conspiracy was devised between Vivas and Hochman


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  mid-year of 1985, and they both traveled to Miami to meet with Ronel Refining shortly
  thereafter. Hochman, Jun. 1, 1990 at 28–35. Hochman left Uruguay to live in the United States
  on July 21, 1986. Id. at 91. Hochman worked for ROAF in the Los Angeles jewelry mart from
  1986 until 1988, when he took over the ROAF office in New York City. DCSF, Dkt. 1348-1 at
  9–10. Hochman was arrested for his role in both the Andonian and Koyomejian Conspiracies in
  February of 1989, and remained in custody during the Andonian trial. Hochman, Jun. 6, 1990 at
  116. Hochman entered a guilty plea in the Koyomejian Conspiracy, and was an unindicted co-
  conspirator in the Andonian Conspiracy. See supra note 6.

      Hochman testified for seven days during the Andonian trial. At trial, Hochman testified to
  and was cross-examined on the deal he received in exchange for his cooperation. Hochman, Jun.
  1, 1990 at 1487–89 (discussing Hochman’s plea deal in-depth); Hochman, Jun. 7, 1990 at 2001–
  06 (on cross-examination). However, as discussed above, Hochman never mentioned the four
  personal benefits that formed the basis of his later declaration. The Court has already concluded
  that this presents impeachment evidence, and that it should have been disclosed to the defense.

      Before negotiating a plea bargain, Hochman was facing potential life in prison; after his
  cooperation, the maximum sentence he could receive was twenty years. Hochman, Jun. 1, 1990
  at 1487–89. Because Hochman disclosed the more significant benefits of his cooperation,
  disclosure of the four smaller personal benefits might not have further impeached his credibility.
  More importantly, the is no indication that Hochman’s testimony or the government’s arguments
  regarding the Andonian Conspiracy would have been materially different had Hochman
  disclosed the personal benefits. There was no argument, for example, that Hochman had not
  previously cooperated in both the Andonian and Koyomejian Conspiracy cases, or that he was
  not part of the prior conspiracy. C.f. United States v. Obagi, No. 18-50170, 2020 WL 4033849
  (9th Cir. July 17, 2020) (finding a Brady violation when the government failed to disclose, until




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  closing argument, that a key cooperating witness had previously cooperated with the government
  in a similar but separate case).18

      Nonetheless, the Court assumes arguendo that the newly disclosed evidence would have
  impeached Hochman to the point of incredibility. In discussing Hochman’s testimony, the Court
  discounts all testimony from Hochman that is not corroborated by another witness or by
  documentary evidence. As explained below, however, “[e]ven if [the witness’s] credibility as a
  witness had been totally destroyed, we are confident beyond doubt that the jury would have
  found [Defendants] guilty, based on the overwhelming evidence presented by the
  government . . . . ” United States v. Olsen, 704 F.3d 1172, 1185 (9th Cir. 2013).

      Large portions of Hochman’s testimony related to the Koyomejian Conspiracy, and, as
  described above, were introduced against Vivas and Seresi as 404(b) evidence. In the
  Koyomejian conspiracy, Hochman testified how money was collected from street-level couriers,
  packed into boxes, and sent to Los Angeles to purchase gold. Regarding the Andonian
  Conspiracy, however, this process was more thoroughly examined by Mario. Hochman also
  testified about the “La Mina” code, whereby ROAF would keep track of which courier dropped
  off cash at the ROAF office in New York. Hochman, Jun. 1, 1990 at 1494–99. However, Mario

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    In Obagi, one of the government’s key cooperating witness, Halime “Holly” Saad, falsely testified that she had
  never received a deal in exchange for her testimony. Obagi, No. 18-50170, 2020 WL 4033849, at *2. “[T]he
  government relied heavily on Saad,” and emphasized that her lack of immunity made her corroboration of other,
  less-credible witnesses more believable. Id. “Unfortunately, one of prosecution’s key tenets during closing—that the
  jurors could trust the culpable cooperators because they could trust Saad as an independent corroborating witness—
  was false.” Id. at, *3. The fact that Saad had received immunity in a separate mortgage fraud investigation was not
  disclosed until closing arguments had begun. Id. Despite the trial court’s best efforts to cure the prejudice, the Ninth
  Circuit found reversible error. Id. The current Andonian case presents a materially distinguishable scenario. Here,
  there was no question that Hochman had received substantial benefits in exchange for his cooperation in both the
  Andonian and Koyomejian Conspiracies. The government did not argue that Hochman was unimpeached, but
  emphasized that his testimony was corroborated by documentary evidence and other cooperating witnesses.


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  also testified extensively to the details of the La Mina code. Mario, Jul. 2, 1990 at 4042–53;
  Mario, Jul. 3, 1990 at 4201–07. Further, the La Mina code was never known or used by the
  Andonians. Dkt. 1358 at 7–8.

      Defendants argue that Hochman’s testimony was essential because it created the link
  between the drug conspiracy with the Koyomejians and the money laundering conspiracy with
  the Andonians. However, Hochman’s testimony regarding drugs was minimal. Hochman
  testified that, although he never saw drugs, his understanding was that ROAF was collecting cash
  from drug sales. Hochman, Jun. 1, 1990 at 1476. Defendants’ theory is that “Hochman’s
  testimony hurt the Andonians not so much by what he said, but rather what he didn’t say.” Dkt.
  1358 at 7. However, as described above, the jury rejected all charges related to drugs. The Ninth
  Circuit affirmed the Trial Court’s handling of this 404(b) evidence, and it is clear Hochman’s
  testimony regarding drugs did not influence Defendants’ conviction on the money laundering
  charges. Although evidence regarding the La Mina code or Koyomejian Conspiracy evidence
  was certainly relevant, based on the record, it did not play a significant role in the Andonian
  Conspiracy convictions. Evidence that merely bolsters other witnesses, or that is rejected by the
  jury, is generally not considered prejudicial. See Sivak v. Hardison, 658 F.3d 898, 914 (9th Cir.
  2011) (“But even if the jury disbelieved [the witness] entirely . . . there still is no ‘reasonable
  likelihood that the false testimony could have affected the judgment of the jury.’”) (quoting
  Jackson v. Brown, 513 F.3d 1057, 1076 (9th Cir. 2008)).

      Hochman also testified at length about the circular nature of the gold transactions, including
  describing the operation of the cash delivery, gold shipments, and pool accounts. Hochman, Jun.
  6, 1990 at 1721–40. As described above, however, these elements were explained in greater
  detail by Mario Tankazyan and Richard Ferris. Hochman’s job in the Andonian conspiracy was
  predominantly concerned with collecting and shipping cash from New York City to Mario and




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                              UNITED STATES DISTRICT COURT
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                                 CIVIL MINUTES – GENERAL

  Case No.        2:17-cv-09316-SVW                                     Date: August 10, 2020
                  2:17-cv-09315-SVW
                  2:13-cv-04928-SVW
                  2:15-cv-04856-SVW
                  2:89-cr-00190-SVW
  Title      Vahe Andonian v. United States of America
             Nazareth Andonian v. United States of America
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  the Andonians in Los Angeles. But all of the details of those shipments were also provided by
  the recipient—Mario Tankazyan.

      In fact, Hochman testified that he never personally spoke to the Andonians. Hochman, Jun. 6,
  1990 at 1175; Hochman, Jun. 7, 1990 at 1943. In their briefs to the Ninth Circuit, the Andonians
  emphasized the minimal connection they had with Hochman. See Dkt. 1348-2 at 9–11. The
  Andonians argued that most of Hochman’s testimony was unrelated to the Andonian Conspiracy,
  and should not have been introduced at all. Id. at 22–24. As discussed above, the Ninth Circuit
  affirmed the Trial Court’s handling of the 404(b) evidence. See Andonian, 29 F.3d 634 (Mem.),
  at *6.

      Other elements of the conspiracy that Hochman discussed were corroborated by documentary
  evidence. For example, Hochman discussed the bills of lading from Brinks and Loomis, but
  these were supported through documents introduced elsewhere. Hochman, Jun. 7, 1190 at 1959–
  62 (Exhibit 104(c)). Similarly, flight records, Loomis records, and Hochman’s financial and
  travel records confirmed the “New York Incident,” where Hochman left roughly $3 million
  unattended in the ROAF New York Office. United States Closing, Nov. 7, 1990 at 18173–82.
  Hochman was not needed to establish the details of the gold transactions either, as the volume of
  cash and gold exchanged between ROAF, ABI, and A-Mark, was available through the records
  of ABI, A-Mark, Brinks, and Loomis. See Nazareth Andonian Closing Argument, Nov. 16, 1990
  at 18767–80; United States Rebuttal, Nov. 29, 1990 at 19675–78. All of these records could be
  explained by Mario and Ferris, who had a substantially larger role in the gold sales. The
  government also introduced numerous audio recording of Defendants discussing shipments of
  cash from ROAF in New York to ABI in Los Angeles. United States Rebuttal, Nov. 29, 1990 at
  19628–35.

     Hochman provided seven days of testimony, and his testimony was certainly beneficial to the
  government. “Impeachment evidence is especially likely to be material when it impugns the


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  testimony of a witness who is critical to the prosecution's case.” Kohring, 637 F.3d at 905
  (emphasis added). Although helpful, the Court’s careful review of the record finds that Hochman
  was not critical to the government’s case. Hochman testified extensively to the Koyomejian
  Conspiracy, but that evidence was never offered against the Andonians, and the Ninth Circuit
  affirmed the Trial Court’s management of the 404(b) evidence with regard to all Defendants.
  Any evidence of drugs was rejected by the jury, and was not an element of the money laundering
  charges under which Defendants were convicted. The “La Mina” code was never used by the
  Andonians, and Mario was able to explain the necessary elements of the code during his
  examination. Hochman also provided details of the shipments of cash from ROAF to ABI, but
  again that evidence was provided in greater detail by Mario and substantiated by documentary
  evidence. Defendants repeatedly emphasized that Hochman had no direct contact with the
  Andonians, and his role in the Andonian Conspiracy, although important, was mostly cabined to
  New York City.

      The operations of the gold trading, both physically and through pool accounts, was covered
  in detail by Mario and Ferris, and was again supported with substantial documentation. Notably,
  Vahe Andonian offered contrary explanations for the evidence described above, but the jury
  rejected his testimony by finding Defendants guilty. All of the relevant evidence provided by
  Hochman that related to the Andonian Conspiracy was confirmed independent of Hochman,
  either thorough documentary evidence or other corroborating witnesses.

              c. Conclusions Based on the Trial Record

         The Court has focused its attention on the testimony of Mario, Hochman, Ferris, and
  Vahe Andonian, but the evidence in this case is significantly greater than the testimony of these
  four witnesses. As discussed above, the government’s case alone consisted of over 60 witness
  and over 600 pieces of evidence, many of which included audio recordings and detailed records
  from the Andonians, Vivas, Seresi, Hochman, and Mario. Aside from Mario and Hochman, the


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  government produced three other cooperating witnesses, who all corroborated the operations of
  the Andonian Conspiracy.

          After a thorough examination of the record, the Court has not found any material
  evidence introduced by Hochman that was not substantially corroborated by documentary
  evidence or other witnesses. Hochman was a helpful witness, but it is not enough that the
  government’s case would be slightly weaker without Hochman: “[t]he mere possibility that an
  item of undisclosed information might have helped the defense, or might have affected the
  outcome of the trial, does not establish ‘materiality’ in the constitutional sense.” Olsen, 704 F.3d
  at 1184 (quoting Barker v. Fleming, 423 F.3d 1085, 1099 (9th Cir.2005)). Even without
  Hochman, the evidence in this case was overwhelming, and the Court is convinced the trial
  resulted “in a verdict worthy of confidence.” Id. at 1184 (quoting Strickler, 527 U.S. at 289–90).
  “Upon a careful review of the record, we conclude that there is no reasonable probability that the
  verdict would have been different if the favorable evidence had been disclosed.” Id. at 1185.

     V.       Conclusion

      Based on the Order above, the Court concludes the Defendants have not met their burden to
  show that a Brady violation has occurred. Because they were the only parties that provided briefs
  (although without any evidentiary analysis), the Court has focused on the evidence that related to
  the Andonian brothers. But the Court has spent hundreds of hours considering the record with
  regard to the entire Andonian Conspiracy. All Defendants were convicted on money laundering
  and conspiracy charges under the Andonian Conspiracy, and the discussion above demonstrates
  that overwhelming evidence of the scheme was presented at trial. As noted above, every
  Defendant, each represented by counsel, was the afforded the opportunity to provide additional
  briefing to this Court, and all declined. Dkt. 1370.




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      Although this Order has not discussed the evidence against either Vivas or Seresi in as much
  detail, the Court’s examination of the record compels the same result among all Defendants. The
  evidence the Court has reviewed shows that all Defendants were intimately involved in nearly
  every aspect of the Andonian Conspiracy. The record clearly shows that Vivas was at the head of
  the Andonian Conspiracy. Vivas was responsible for orchestrating the money laundering
  scheme, and gave orders to Mario, Hochman, Seresi, the Andonians, and many other members of
  the conspiracy. This was supported through multiple witnesses unrelated to Hochman and a
  deluge of documentary evidence. Further, the record establishes that Seresi was an essential
  player in the Andonian Conspiracy. Specifically, he was key employee of ROAF, and, taking
  direction from Vivas, transmitted crucial information to the other conspirators in the scheme
  regarding the purchase of gold, which Mario testified to at length. Seresi was also described as
  running J.C. Jewelers, the successor company to ROAF once Vivas fled the United States.
  DCSF, 1348-1 at 18.

     For these reasons, all Defendants’ motions to vacate or correct their sentences are DENIED.

  IT IS SO ORDERED




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